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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

ANN HENEGHAN,                                         )
                                                      )
               Plaintiff,                             )      Case No.
                                                      )
       v.                                             )      Trial by Jury Demanded
                                                      )
THE CITY OF CHICAGO AVIATION                          )     FILED: FEBRUARY 5, 2009
POLICE DEPT., DONALD WOJCIK                           )     09CV0759
in his individual and official capacities,            )     JUDGE LEINENWEBER
NURIA FERNANDEZ, in her individual                    )     MAGISTRATE JUDGE BROWN
and official capacities.                              )     EDA
                                                      )
               Defendants.                            )

                                          COMPLAINT

       COMES NOW the Plaintiff, ANN HENEGHAN, by and through her attorney, Kristin M.

Case of The Case Law Firm LLC, for her Complaint at Law against Defendants and states and

alleges as follows:

                                             Introduction

       1.      This action arises under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000(e) et seq., as amended (hereinafter “Title VII”), the Fourteenth Amendment to the United

States Constitution (hereinafter “14th Amendment”), and 42 U.S.C. § 1983 (hereinafter “Section

1983”).

                                     Jurisdiction and Venue

       2.      Jurisdiction is conferred on this Court by the above-named statutes, as well as by

28 U.S.C. § 1331 and § 1343. Venue of this action properly lies in the Northern District of

Illinois, Eastern Division, pursuant to 28 U.S.C. § 1391 (b) and (c).
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                                          Factual Allegations

         3.    Plaintiff Ann Heneghan (“Plaintiff”) is a citizen of the United States and a

resident of Chicago, Cook County, Illinois. Plaintiff was formerly employed by the City of

Chicago Aviation Police Department as an Aviation Police Officer. Plaintiff worked out of the

City’s office located in Chicago O’Hare International Airport in Chicago, Cook County, Illinois.

         4.    Defendant the City of Chicago Aviation Police Department (hereinafter “the

Police Department”) is a body politic and corporate under Illinois law and is an employer for

purposes of Title VII.

         5.    Defendant Donald Wojcik (hereinafter “Wojcik”) is an individual and resident of

Chicago, Cook County, Illinois and at all times relevant herein, was a Sergeant for the City of

Chicago Aviation Police Department and was one of Plaintiff’s supervisors. At all relevant

times Defendant Wojcik was acting under color of state law. Plaintiff sues Defendant Wojcik in

his individual and official capacities.

         6.    Defendant Nuria Fernandez (hereinafter “Fernandez”) is an individual and

resident of Chicago, Cook County, Illinois and at all times relevant herein, was the

Commissioner of Aviation for the City of Chicago and was one of Plaintiff’s supervisors. At all

relevant times Defendant Fernandez was acting under color of state law and had policymaking

authority. Plaintiff sues Defendant Fernandez in her individual and official capacities.

         7.    Plaintiff began working for the Police Department as an aviation police officer in

1998.     Throughout her employment she consistently met and/or exceeded the Police

Department’s expectations.




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       8.      During Plaintiff’s time working for the Police Department, Defendant Wojcik

subjected her to a continuing violation of severe and pervasive sexual harassment in the

workplace, including but not limited to:

       a.      Defendant Wojcik frequently made sexual comments about Plaintiff’s body to

       Plaintiff or in Plaintiff’s presence, including but certainly not limited to telling Plaintiff,

       while she was pregnant with her first child, that after she delivered the baby she should

       have her doctor “put an extra stitch” in her vagina to provide her husband with more

       enjoyment.

       b.      Defendant Wojcik also frequently made sexually explicit comments about other

       female aviation police officers’ bodies.

       c.      Defendant Wojcik frequently told jokes that demeaned women or contained

       sexually explicit content.

       d.      Defendant Wojcik often referred to women, including female officers, in

       derogatory terms such as “cunts” and “bitches.”

       e.      Defendant Wojcik regularly referred to other female aviation police officers

       “shitting out babies” to be excused from work.

       f.      Defendant Wojcik would tell other officers, in Plaintiff’s presence, that Plaintiff

       “has a hard on for him.”

       9.      Defendant Wojcik made these inappropriate gender-based comments on a near

daily basis.

       10.     Defendant Police Department has a written policy prohibiting sexual harassment.

At all relevant times, Defendants failed to follow that policy.




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       11.     Plaintiff frequently told Defendant Wojcik that his conduct was unwelcome and

specifically asked him to stop, yet he refused to stop the harassment.

       12.     Plaintiff made repeated complaints to her superiors regarding Defendant Wojcik’s

unwelcome and inappropriate gender-based comments. However, nothing was ever done to

remedy the sexual harassment.

       13.     After her repeated verbal complaints were ignored, on July 14, 2006, Plaintiff

filed a written complaint with Lieutenant Kenneth Johnson and formally complained about what

she reasonably believed to be a hostile working environment resulting from Defendant Wojcik’s

conduct.

       14.     No action was taken in response to Plaintiff’s complaint.

       15.     Defendant Wojcik learned of Plaintiff’s complaints to Lieutenant Johnson and

subsequently began to retaliate against her by threatening her.

       16.     For instance, on October 28, 2006, Defendant Wojcik asked Plaintiff’s mother,

who at all relevant times was also an aviation police officer, if Plaintiff had “dropped a dime on

him,” in other words asking if Plaintiff had made complaints about him. Plaintiff’s mother

refused to answer and Defendant Wojcik asked her again in a very loud, aggressive, and

intimidating manner. Defendant Wojcik, who had a history of violence and aggression within

the Department, then physically threatened Plaintiff and her mother.

       17.     That same day Plaintiff reported Defendant Wojcik’s threatening comments to

Lieutenant Clarence Zanders. Plaintiff asked Lieutenant Zanders whether she should be scared

of Defendant Wojcik and Zanders responded that he did not know. Plaintiff was so physically

upset and afraid that Lieutenant Zanders told her she should go home for the day but

recommended that she avoid Defendant Wojcik on her way out for her own safety.




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       18.    After she went home that day, Plaintiff sent a follow-up memo to Lieutenant

Zanders regarding Defendant Wojcik’s threats explaining that she was “afraid for [her] safety.”

The following Monday, October 30, 2006, Plaintiff discussed this memo with Lieutenant

Johnson. Lieutenant Johnson informed Plaintiff that he would send her memo to the City’s

Sexual Harassment Unit, yet he took no other action to remedy the problem or to protect her

from Defendant Wojcik.

       19.    Because Plaintiff reasonably feared for her safety and because the Police

Department failed to remedy Defendant Wojcik’s harassment and threats, Plaintiff, who had to

work in the same physical space as Defendant Wojcik used her sick and/or vacation time to

avoid going to work on the days that Defendant Wojcik would be present.

       20.    On January 17, 2007, Plaintiff filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”) alleging violations of Title VII.

       21.    After that Charge was filed, the City’s Sexual Harassment Unit investigated

Plaintiff’s complaints and sustained her allegations. A copy of this finding was forwarded to the

Police Department and to Defendant Fernandez. Attached as Exhibit A is a copy of those

findings.

       22.    Despite receiving the Sexual Harassment Unit’s findings, the Police Department

and Defendant Fernandez continued to refuse to engage in any remedial or corrective action.

Further the Police Department and Defendant Fernandez took no corrective measures and

continued to force Plaintiff to work with Defendant Wojcik.

       23.    This on-going refusal to remedy the continuing harassment constituted a

systematic policy, practice and custom of allowing supervisor sexual harassment and the creation

of a sexually hostile working environment.




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       24.      Because the Police Department and Defendant Fernandez refused to remedy

Defendant Wojcik’s harassment, Plaintiff remained afraid for her safety and was constructively

unable to return to work.

       25.      Once she exhausted her sick and vacation time, Plaintiff requested a leave of

absence, which was a leave option offered by the Police Department, stating again that she

would not be able to return to work so long as she had to work with Defendant Wojcik.

       26.      The Police Department denied Plaintiff’s request for leave.

       27.      On May 21, 2007 Defendant Ferndandez terminated Plaintiff.

       28.      On May 29, 2007 Plaintiff filed a second Charge of Discrimination with the

EEOC adding further allegations of retaliation in violation of Title VII.

       29.      On January 22, 2009 and January 29, 2009 the Department of Justice issued

Notices of Right to Sue for Plaintiff’s two Charges. Attached as Exhibit B are copies of those

Notices.

             COUNT I – TITLE VII GENDER DISCRIMINATION & SEXUAL
             HARASSMENT AGAINST DEFENDANT POLICE DEPARTMENT

       30.      Plaintiff incorporates the preceding paragraphs as though fully set forth herein in

this Count I.

       31.      Defendant Police Department intentionally discriminated against Plaintiff in

violation of Title VII when its employees engaged in gender discrimination, including but not

limited to, sexual harassment.

       32.      Plaintiff was subjected to severe and pervasive sexual harassment on a near-daily

basis by her male supervisor, Defendant Wojcik. Defendant Wojcik’s conduct created a hostile

working environment.




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       33.     Plaintiff was subjected to this harassment because of her sex (female). This

harassment was both subjectively and objectively offensive.

       34.     Plaintiff did not participate in the harassment and clearly communicated to

Defendant Wojcik and others that she found such conduct offensive.

       35.     The Department failed to take any reasonable and appropriate corrective measures

to stop the harassment which resulted in Plaintiff being constructively unable to work on the

days in which she would have to work with Defendant Wojcik.

       36.     Defendant Police Department engaged in the aforesaid discriminatory acts with

malice or with reckless indifference to Plaintiff’s federally protected rights under Title VII.

       37.     As a result Plaintiff suffered damages including but not limited to lost wages, lost

benefits and emotional distress.

       WHEREFORE, Plaintiff requests that this Court:

       A.      Enter a finding that she was subjected to gender discrimination in violation of

               Title VII;

       B.      Enter a finding that she was subjected to a sexually hostile working environment

               in violation of Title VII;

       C.      Enter a finding that the Police Department failed to take prompt and appropriate

               corrective action to stop the gender discrimination and sexual harassment and,

               indeed, acquiesced and participated in it with malice and reckless indifference for

               Plaintiff’s rights under Title VII;

       D.      Award Plaintiff lost wages and benefits;

       E.      Award Plaintiff compensatory and punitive damages in an amount to be proven at

               trial;




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       F.        Award Plaintiff her reasonable attorneys’ fees and costs incurred in bringing this

                 action;

       G.        Award any further relief this Court deems to be just and appropriate.

                      COUNT II – TITLE VII RETALIATION AGAINST
                         DEFENDANT POLICE DEPARTMENT

       38.       Plaintiff incorporates the preceding paragraphs as though fully set forth herein in

this Count II.

       39.       Plaintiff engaged in protected activity when she complained about what she

reasonably believed to be sexual harassment and a hostile working environment.

       40.       Plaintiff engaged in further protected activity when she filed a Charge of

Discrimination with the EEOC against the City of Chicago alleging sexual harassment in

violation of Title VII.

       41.       After Plaintiff made these complaints and filed her Charge, Defendant Police

Department subjected Plaintiff to materially adverse employment actions by forcing her to

continue to work with Defendant Wojcik, by constructively causing her to not be able to work on

the days in which she was scheduled to work with Defendant Wojcik, by denying her the leave

of absence and by, ultimately, discharging her.

       42.       Defendant knowingly and willfully engaged in this retaliatory conduct.

       43.       As a result of Defendant’s retaliation, Plaintiff has suffered damages including but

not limited to lost wages, lost benefits and emotional distress.

       WHEREFORE, Plaintiff requests that this Court:

       A.        Enter a finding that she was subjected to retaliation in violation of Title VII;

       B.        Award Plaintiff lost wages and benefits;




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       C.         Award Plaintiff compensatory and punitive damages in an amount to be proven at

                  trial;

       D.         Award Plaintiff her reasonable attorneys’ fees and costs incurred in bringing this

                  action;

       E.         Award any further relief this Court deems to be just and appropriate.


          COUNT III – SECTION 1983 VIOLATION OF EQUAL PROTECTION
                          AGAINST ALL DEFENDANTS

       44.        Plaintiff incorporates the preceding paragraphs as though fully set forth herein in

this Count III.

       45.        Defendants intentionally subjected Plaintiff to unequal and discriminatory

treatment based on her gender by subjecting her to unequal conditions of employment, whereby

Plaintiff was subjected to a hostile working environment and retaliated against because she

complained about such conduct.

       46.        Defendants intentionally subjected Plaintiff to unequal and discriminatory

treatment that altered the terms and conditions of Plaintiff’s employment and knowingly failed

and refused to remedy such conditions.

       47.        Defendants’ actions against Plaintiff violate her equal protection right to be free

from discrimination based on her gender as secured by the Fourteenth Amendment of the United

States Constitutions and 42 U.S.C. § 1983.

       48.        Defendants’ actions constituted a systematic policy, practice and custom of

discrimination, sexual harassment and retaliation against women. At all relevant times, this

policy and practice was a continuing violation.




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        49.      Defendants Wojcik and Fernandez were personally responsible for the deprivation

of Plaintiff’s rights.

        50.      Defendants’ actions were intentional, willful and malicious and/or in deliberate

indifference for Plaintiff’s Section 1983 rights.

        51.      As a result of Defendants’ violations, Plaintiff has suffered damages including but

not limited to lost wages, lost benefits and emotional distress.

        WHEREFORE, Plaintiff requests that this Court:

        A.       Enter a finding that Defendants violated Plaintiff’s Equal Protection rights when

                 he intentionally sexually harassed her;

        B.       Award Plaintiff lost wages and lost benefits;

        C.       Award Plaintiff compensatory damages against Defendants in amounts to be

                 proven at trial;

        D.       Award Plaintiff punitive damages against Defendant Wojcik and Defendant

                 Fernandez in their individual capacities;

        E.       Award Plaintiff her reasonable attorneys’ fees and costs incurred in bringing this

                 action;

        F.       Award any further relief this Court deems to be just and appropriate.

      COUNT IV – SECTION 1983 RETALIATION AGAINST ALL DEFENDANTS

        52.      Plaintiff incorporates the preceding paragraphs as though fully set forth herein in

this Count IV.

        53.      Plaintiff engaged in protected activity when she complained about what she

reasonably believed to be sexual harassment and a hostile working environment.




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        54.     Plaintiff engaged in further protected activity when she filed a Charge of

Discrimination with the EEOC against the City of Chicago alleging sexual harassment in

violation of Title VII.

        55.     Defendants denied Plaintiff’s rights secured by the Fourteenth Amendment to the

United States Constitution, when they retaliated against her for making these complaints and

filing her Charge of Discrimination, by forcing her to continue to work with Defendant Wojcik,

by constructively causing her to not be able to work on the days in which she was scheduled to

work with Defendant Wojcik, by denying her the leave of absence and by, ultimately,

discharging her.

        56.     Defendants Wojcik and Fernandez were personally responsible for the deprivation

of Plaintiff’s rights.

        57.     Defendants knowingly and willfully engaged in this retaliatory conduct, denying

Plaintiff equal protection of the law.

        58.     As a result of Defendants’ retaliation, Plaintiff has suffered damages including but

not limited to lost wages and emotional distress.

        WHEREFORE, Plaintiff requests that this Court:

        A.      Enter a finding that Defendants violated Plaintiff’s Equal Protection rights when

                they retaliated against her for making complaints of sexual harassment;

        B.      Award Plaintiff lost wages and benefits;

        C.      Award Plaintiff compensatory damages against Defendants in amounts to be

                proven at trial;

        D.      Award Plaintiff punitive damages against Defendant Wojcik and Defendant

                Fernandez in their individual capacities;




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      E.     Award Plaintiff her reasonable attorneys’ fees and costs incurred in bringing this

             action;

      F.     Award any further relief this Court deems to be just and appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY

                                                  Respectfully Submitted,
                                                  ANN HENEGHAN


                                                  By: /s/ Kristin M. Case
                                                     One of Her Attorneys

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